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                   UNITED STATES COURT OF INTERNATIONAL TRADE


THE ANCIENTREE CABINET CO., LTD                         )
                                                        )
                       Plaintiff,                       )
                                                        )
       v.                                               )           Court No. 20-114
                                                        )
UNITED STATES,                                          )
                                                        )
                       Defendant.                       )


                                          COMPLAINT

       On behalf of The Ancientree Cabinet Co., Ltd., (“Ancientree” or “Plaintiff”), we hereby

bring this civil action and allege the following:

                                               Parties

       1.       Plaintiff is a Chinese producer and exporter of merchandise subject to the

antidumping Order on Wooden Cabinets and Vanities and Components Thereof From the

People's Republic of China.

       2.       Defendant is the United States of America acting by and through the U.S.

Department of Commerce (the “Department”).

                                            Jurisdiction

       3.       This action is brought pursuant to 19 U.S.C. § 1516a(a)(2)(A)(i)(II) and (B)(i) to

contest the final determination by the Department under 19 U.S.C. §1673d, in the antidumping

duty investigation of wooden cabinets and vanities from China. See Wooden Cabinets and

Vanities and Components Thereof From the People's Republic of China: Antidumping Duty

Order, 85 Fed. Reg. 22,126 (April 21, 2020); see also Wooden Cabinets and Vanities and



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Components Thereof From the People's Republic of China: Corrected Notice of Final

Affirmative Determination of Sales at Less Than Fair Value, 85 FR 17855 (March 31, 2020).

       4.       Accordingly, this Court possesses jurisdiction over this action pursuant to 28

U.S.C. § 1581(c) and 19 U.S.C. § 1516a(a)(2).

                                             Standing

       3.       Plaintiff is a foreign exporter of the subject wooden cabinets and vanities.

Accordingly, plaintiff qualifies as an interested party within the meaning of 19 U.S.C.

§§ 1516a(f)(3) and 1677(9)(A).

       4.       In addition, because the Department made a Final Determination that was not

lawful, or, otherwise overstated Plaintiff’s antidumping duty margin, Plaintiff has been adversely

affected or aggrieved by agency action within the meaning of Section 702 of Title 5 of the United

States Code. Therefore, Plaintiff has standing to bring this action under 28 U.S.C. § 2631(c).

                                            Timeliness

       5.       Notice of the antidumping duty order was published in the Federal Register on

April 21, 2020. Plaintiff filed a summons instituting this action on May 21, 2020, within thirty

days after publication of the aforementioned antidumping duty order, serving notice of the action

upon all other participants in the investigation on the same date. Furthermore, Plaintiff is filing

this complaint within thirty days after filing the aforementioned summons. Therefore, Plaintiff

has commenced this action within the time limits specified in 19 U.S.C. § 1516a(a)(2)(A), 28

U.S.C. § 2636(c), and Rule 3 and Rule 6 of the Rules of this Court.




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                                         Statement of Facts

         6.       On March 26, 2019, the Department initiated an antidumping duty investigation

on Wooden Cabinets and Vanities and Components Thereof From the People's Republic of

China.

         7.       On June 4, 2019, the Department selected three mandatory respondents:

Ancientree, Rizhao Foremost Woodwork Manufacturing Company Ltd. (Foremost), and Dalian

Meisen Woodworking Co., Ltd. (Meisen).

         8.       Because this was a nonmarket economy order, the Department generally does not

use respondents’ actual cost records to value its inputs, home market sales, and financial

statements for the purposes of calculating the normal value (a special form of constructed value

particular to nonmarket economy investigations). Rather, the Department selects surrogate

values from a surrogate country.

         9.       Petitioner argued that Romania should be selected as the primary surrogate

country and submitted a Romanian surrogate value record. Plaintiff and the other two mandatory

respondents in the investigation argued that Malaysia should be selected as the primary surrogate

country and submitted a Malaysian surrogate value record.

         10.      In the Preliminary Determination, the Department selected Romania as the

primary surrogate country stating that Romania had higher quality of data because the single

Romanian financial statement separately broke out energy expenses. Prelim. IDM at 14. The

Department calculated a margin of 4.49 percent for Ancientree, 80.96 percent for Foremost, and

39.25 percent for the separate rate companies. The third mandatory respondent, Meisen was

assigned an AFA margin of 262.18 percent.

         11.      Plaintiff and the other respondents argued that the Department should select


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Malaysia as the primary surrogate country in the Final Determination. Plaintiff argued that the

Department frequently relies on financial statements that do not break out energy and that given

the other data advantages, Malaysia sources the best available information. Critically, Malaysia

sourced multiple highly comparable financial statements while Romania sourced only one

financial statement from a less comparable producer. Further, the sawnwood surrogate values in

Malaysia were more specific than that available in Romania and the Romanian import values for

these two critical sawnwood inputs were based on an insignificant, uncommercial quantity.

       12.     Plaintiff also argued that even if the Department continued to rely upon Romania,

the Department used the incorrect HTS as a surrogate value for glue, particleboard, MDF, and

paint. In addition, the financial ratios calculated by the Department for the Romanian company

Sigstrat, were calculated using a different methodology than several prior reviews and

investigations. Plaintiff argued that not only did the Department not explain why it had changed

its methodology, but the new calculation was less accurate and less detailed.

       13.     Nonetheless, in the Final Determination the Department continued to rely upon

Romania. The Department agreed that it had relied upon the incorrect HTS to value Ancientree’s

glue input, but declined to make any further changes. Notably, the Department did not even

address Ancientree’s argument concerning the Sigstrat financial ratio calculation.

       14.     The Department calculated a final margin of 4.37 percent for Ancientree, 101.46

percent for Dalian Meisen, and 48.50 percent for the separate rate companies. The third

mandatory respondent, Foremost, received an AFA margin of 262.18 percent.

       15.     This appeal ensued.




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                                            Count 1

       16.     Plaintiff hereby incorporates, by reference, paragraphs 1 through 15, above.

       17.     The record as a whole did not support the selection of the Romania as the primary

surrogate because there was better quality data available in Malaysia. As such, the Department’s

determination to rely upon Romania was unsupported by substantial evidence. See 19 U.S.C.

§1516a(b)(1)(B)(i)(requiring the Department’s determinations to be supported by substantial

evidence); see also 19 U.S.C. §1677b(c)(1) (requiring the Department to rely upon the “best

available information” for the surrogate values); 19 U.S.C. §1516a(b)(1)(B)(i) (the Court shall

hold unlawful Department decisions that are unsupported by substantial evidence).

                                                Count 2

       18.     Plaintiff hereby incorporates, by reference, paragraphs 1 through 17, above.

       19.     The Department did not select the “best available information” for the surrogate

values for birch and poplar sawnwood contrary to 19 U.S.C. §1677b(c)(1). As such, the

Department’s choice of surrogate values was unlawful and unsupported by substantial evidence.

19 U.S.C. §1516a(b)(1)(B)(i).

                                                Count 3

       20.     Plaintiff hereby incorporates, by reference, paragraphs 1 through 19, above.

       21.     The Department did not select the “best available information” for the surrogate

values for particleboard, MDF, and paint contrary to 19 U.S.C. §1677b(c)(1). In part, the

Department relied upon inaccurate harmonized tariff schedule numbers and classifications in so

doing for each. As such, the Department’s choice of surrogate values was unlawful and

unsupported by substantial evidence. 19 U.S.C. §1516a(b)(1)(B)(i).




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                                                 Count 4

        22.    Plaintiff hereby incorporates, by reference, paragraphs 1 through 21, above.

        23.    The Department’s calculation of Sigstrat’s financial ratios was less accurate and

the Department failed to explain why it had departed from its prior methodology. Therefore, the

Department’s ratio calculation was not supported by substantial evidence and was arbitrary and

capricious. See 19 U.S.C. §1516a(b)(1)(B)(i); see also Motor Vehicle Mfrs. Ass'n v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (a decision may be arbitrary when it “entirely failed

to consider an important aspect of the problem.”); Consol. Bearings Co. v. United States, 348

F.3d 997, 1007 (Fed. Cir. 2003) (If Commerce provides “no reasonable explanation” for

changing a practice that it has “consistently followed,” such a change is an unacceptable agency

practice.).

                                        Prayer for Relief

        WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor
and against the defendant:
        (1)    Declaring the Department’s selection of Romania as the primary surrogate country

unsupported by substantial evidence; and

        (2)    Declaring that the Department’s choices of surrogate values for birch and poplar

sawnwood were unsupported by substantial evidence; and

        (3)    Declaring that the Department’s choices of surrogate values for Ancientree’s

particleboard, MDF, and paint inputs were unsupported by substantial evidence; and

        (4)    Declaring the Department’s financial ratio calculation was unsupported by

substantial evidence and its change in methodology was arbitrary and capricious; and

        (5)    Ordering that if the Department calculates a de minimis margin, the Department




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must exclude Ancientree from the antidumping Order, and

       (6)    Granting Plaintiffs such other relief as the Court may deem appropriate.


                                            Respectfully submitted,

                                            /s/ Gregory S. Menegaz
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       Dated: May 21, 2020




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